                       Case 3:14-cr-00175-WHA Document 922 Filed 01/31/17 Page 1 of 18
  2AO 245E        (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
                  Sheet 1



                                          UNITED STATES DISTRICT COURT
                               Northern                                  District of                                     California

            UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                 V.                                                (For Organizational Defendants)

      PACIFIC GAS AND ELECTRIC COMPANY                                             CASE NUMBER: 0971 3:14CR00175-001 TEH
                                                                                    Steven Bauer, Sean P.J. Coyle, James Scott, Reid J. Schar,
                                                                                   Defendant Organization’s Attorney
                                                                                                             .DWH'\HU%HQMDPLQ:LOOLDP6Q\GHUDQG
  THE DEFENDANT ORGANIZATION:                                                                                $GDP6KHDUHU5HWDLQHG
  G    pleaded guilty to count(s)

  G    pleaded nolo contendere to count(s)
       which was accepted by the court.
  ✔ was found guilty on count(s)
  G                                           1, 2, 5, 6, 7, and 8 of the Superseding Indictment.
       after a plea of not guilty.
  The organizational defendant is adjudicated guilty of these offenses:


  Title & Section                 Nature of Offense                                                                    Offense Ended                Count
18 U.S.C. § 1505                   Obstruction of a National Transportation Safety Board Investigation                  9/30/2011                   1

49 U.S.C. § 60123                  Natural Gas Pipeline Safety Act                                                      9/9/2010                    2, 5, 6, 7, 8



          The defendant organization is sentenced as provided in pages 2 through                            18      of this judgment.

  ✔
  G    The defendant organization has been found not guilty on count(s)                    3, 4, and 9-12


  G    Count(s)       13                                       G is       G are     dismissed on the motion of the United States.

            It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change
  of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
  are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material
  changes in economic circumstances.

  Defendant Organization’s
  Federal Employer I.D. No.:    XX-XXXXXXX                                          1/26/2017
                                                                                   Date of Imposition of Judgment
  Defendant Organization’s Principal Business Address:

   77 Beale Street, P.O. Box 770000
   San Francisco, CA 94177                                                         Signature of Judge


                                                                                    The Honorable Thelton E. Henderson              Senior U.S. District Judge
                                                                                   Name of Judge                                   Title of Judge


                                                                                    1/31/2017
                                                                                   Date
  Defendant Organization’s Mailing Address:

   77 Beale Street, P.O. Box 770000
   San Francisco, CA 94177
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 2 — Probation

                                                                                                   Judgment—Page      2     of       18
DEFENDANT ORGANIZATION: PACIFIC GAS AND ELECTRIC COMPANY
CASE NUMBER: 0971 3:14CR00175-001 TEH
                                                                  PROBATION
The defendant organization is hereby sentenced to probation for a term of :
 Five (5) years. This term consists of five years on each of Counts 1, 2, 5, 6, 7, and 8, all counts to run concurrent.



The defendant organization shall not commit another federal, state or local crime.




              If this judgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization
     pay in accordance with the Schedule of Payments sheet of this judgment.




         The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page (if indicated below).




                                     STANDARD CONDITIONS OF SUPERVISION
  1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
     as the organizations’s representative and to be the primary contact with the probation officer;
  2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
     officer;
  3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;
  4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
  5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
     litigation, or administrative proceeding against the organization;
  6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
     judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the
     defendant’s successors or assignees; and
  7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.
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 AO 245E    (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
            Sheet 2B — Probation

                                                                                       Judgment—Page    3    of      18
 DEFENDANT ORGANIZATION: PACIFIC GAS AND ELECTRIC COMPANY
 CASE NUMBER: 0971 3:14CR00175-001 TEH

                                       SPECIAL CONDITIONS OF SUPERVISION
1. While on probation, PG&E shall not commit another Federal, State, or local crime.

2. PG&E shall comply with the separately entered order concerning a third-party monitor (see attached order on
pages 6 through 18 of the judgment).

3. Within six months of the date of the judgment, PG&E shall develop and submit to the Court an effective compliance and
ethics program consistent with § 8B2.1 of the Sentencing Guidelines. The submission shall include a schedule for
implementation. PG&E shall revise the program and file updates with the Court whenever deemed appropriate by the
third-party monitor.

4. Within 60 days of the date of the judgment, PG&E shall place one full-page advertisement in both the Wall Street
Journal and San Francisco Chronicle publicizing the nature of the offenses committed, the convictions, the nature of the
punishment imposed, and the steps that will be taken to prevent the recurrence of similar offenses.

5. For three months beginning no later than 60 days after sentencing, and to the greatest extent possible replicating the
same channels and air times that PG&E used before and/or during trial in this case in 2016, PG&E will air television
commercials which publicize the nature of the offenses committed, the convictions, the nature of the punishment imposed,
and the steps that will be taken to prevent the recurrence of similar offenses. PG&E will air such commercials up to the
cost of $3,000,000 less the cost of the print advertisements referred to in (4) above. The cost of advertising does not
constitute a monetary penalty. PG&E estimates that this will result in approximately 12,500 commercials of approximately 60
seconds in duration across broadcast and cable outlets over the three-month period. PG&E will not include language
regarding the conviction as part of the company's public service safety announcements, including what actions the public
should take in the event of wires down, gas leaks or other emergencies, and which typically run on radio and digitally given
time sensitivity, because such information could cause the public to fail to take the needed safety actions in a timely
fashion.

6. PG&E shall submit to: (A) a reasonable number of regular or unannounced examinations of its books and records at
appropriate business premises by the probation officer or experts engaged by the Court; and (B) interrogation of
knowledgeable individuals within the organization. Compensation to and costs of any experts engaged by the Court shall
be paid by the organization. The probation officer and any Court-engaged experts shall work with the third-party monitor to
minimize duplication of efforts.

7. PG&E shall perform 10,000 hours of community service. At least 2,000 of these hours shall be performed by high-level
personnel, as defined in the commentary to § 8A1.2 of the Sentencing Guidelines. PG&E shall provide the prospective
community service workers’ names and titles to the probation officer to ensure compliance with this condition. The location
and type of community service must be preapproved by the probation officer and to every extent possible be in the City of
San Bruno. The intent of this condition is to require 10,000 hours of community service that PG&E would not otherwise
have done, and the probation officer shall therefore consider as part of the approval process the extent to which the
proposed projects can be tied to existing service initiatives by PG&E. The community service shall be geared toward giving
back to communities affected by PG&E’s negligence, with special emphasis on the City of San Bruno, as directed by the
probation officer.

8. PG&E shall notify the probation officer and monitor immediately upon learning of (A) any material adverse change in its
business or financial condition or prospects, or (B) the commencement of any bankruptcy proceeding, major civil litigation,
criminal prosecution, or administrative proceeding against the organization, or any investigation or formal inquiry by
governmental authorities regarding the organization.

9. PG&E shall pay the fine and special assessment in a lump sum within 60 days of the date of this judgment. Any fines
and special assessment payment is not to be passed off to the ratepayers.
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 3 — Criminal Monetary Penalties

                                                                                                            Judgment — Page     4      of       18
DEFENDANT ORGANIZATION: PACIFIC GAS AND ELECTRIC COMPANY
CASE NUMBER: 0971 3:14CR00175-001 TEH
                                               CRIMINAL MONETARY PENALTIES
    The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

                      Assessment                                              Fine                                Restitution
TOTALS            $ 2,400.00                                            $ 3,000,000.00                           $ None


G   The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
    below.

    If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
    be paid before the United States is paid.

Name of Payee                                                         Total Loss*                   Restitution Ordered       Priority or Percentage




TOTALS                                                                $                        0.00 $                 0.00

G    Restitution amount ordered pursuant to plea agreement $

G    The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
     before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
     be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:

     G    the interest requirement is waived for the            G   fine      G      restitution.

     G    the interest requirement for the         G     fine       G      restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245E    (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
           Sheet 4 — Schedule of Payments

                                                                                                          Judgment — Page    5      of       18
DEFENDANT ORGANIZATION: PACIFIC GAS AND ELECTRIC COMPANY
CASE NUMBER: 0971 3:14CR00175-001 TEH

                                                        SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    ✔
     G    Lump sum payment of $            3,002,400.00            due immediately, balance due

          G     not later than                                       , or
          ✔
          G     in accordance with       G     C or     ✔
                                                        G     D below; or

B    G    Payment to begin immediately (may be combined with                    G C or   G D below); or
C    G    Payment in                     (e.g., equal, weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    ✔
     G    Special instructions regarding the payment of criminal monetary penalties:

      Any monetary penalties shall be paid within 60 days of this judgment in a lump sum payment. Payments shall be made
      to the Clerk of U.S. District Court, Attention: Financial Unit, 450 Golden Gate Ave., Box 36060, San Francisco, CA
      94102.




All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
     corresponding payee, if appropriate.




G    The defendant organization shall pay the cost of prosecution.

G    The defendant organization shall pay the following court cost(s):

G    The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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           3URFHGXUH³7KUHDW,GHQWLILFDWLRQ´DQG7'%³&KDQJHVWR,QWHJULW\
           0DQDJHPHQW3UHVVXUH7HVWLQJ5HTXLUHPHQWVIRU8QVWDEOH0DQXIDFWXULQJ
           7KUHDWV´FRQVLVWHQWZLWK$60(%6

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           FHVVDWLRQRIUHJXODUO\LQFUHDVLQJSLSHOLQHSUHVVXUHXSWRD³V\VWHP0$23´WR
           HOLPLQDWHWKHQHHGWRFRQVLGHUPDQXIDFWXULQJDQGFRQVWUXFWLRQWKUHDWVDQG
           DQDO\VLVRIVHJPHQWVWKDWZHUHVXEMHFWHGWRWKHSODQQHGSUHVVXUHLQFUHDVHVWR
           GHWHUPLQHWKHULVNRIIDLOXUHIURPPDQXIDFWXULQJWKUHDWVXQGHU&5)3DUW
           HLQFOXGLQJUHYLHZRIVWUHQJWKWHVWLQJRIDOOVHJPHQWVLGHQWLILHGDV
           KDYLQJDQXQVWDEOHPDQXIDFWXULQJWKUHDW
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           &RQVLVWHQWZLWK&38&'HFLVLRQ$SS[(DW6DQ%UXQR2,,5HPHG\
               LPSOHPHQWDWLRQRIWKUHDWLGHQWLILFDWLRQDQGDVVHVVPHQWSROLFLHVDQG
               SURFHGXUHVVXFKWKDWF\FOLFIDWLJXHDQGRWKHUORDGLQJFRQGLWLRQVDUHLQFRUSRUDWHG
               LQWRVHJPHQWVSHFLILFWKUHDWDVVHVVPHQWVDQGULVNUDQNLQJDOJRULWKPLQFOXGLQJ
               UHYLHZRIULVNPDQDJHPHQWSURFHGXUHVIRUDSSURSULDWHWUHDWPHQWRIF\FOLFIDWLJXH
               DQGORDGLQJ

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    VKDOOSURPSWO\EULQJWKRVHLVVXHVWRWKHDWWHQWLRQRIWKH0RQLWRU3*	(DQGWKH0RQLWRU

    VKDOODJUHHWRWKHW\SHVRIJDVWUDQVPLVVLRQSLSHOLQHVDIHW\LVVXHVWKDWVKRXOGEHEURXJKWWR

    WKHDWWHQWLRQRIWKH0RQLWRUZLWKWKH8QLWHG6WDWHV$WWRUQH\¶V2IILFHIRUWKH1RUWKHUQ

    'LVWULFWRI&DOLIRUQLDWKH³86$2´RU³*RYHUQPHQW´UHVROYLQJDQ\GLVDJUHHPHQWVRQWKH

    VFRSHRIVXFKLVVXHV7KH0RQLWRUZLOOUHYLHZDQGUHSRUWRQWKHDGHTXDF\RI3*	(¶V

    UHVSRQVHWRDQ\JDVWUDQVPLVVLRQSLSHOLQHVDIHW\LVVXHVWKDWDULVHGXULQJKLVRUKHUWHUP




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       FRUSRUDWHFRGHVRIFRQGXFWLQFOXGLQJLPSOHPHQWDWLRQWUDLQLQJDQGHQIRUFHPHQWWKHUHRI

       KHUHLQDIWHUWKH³0RQLWRU´7KHSDUWLHVVKDOOFROODERUDWHWRLGHQWLI\DPXWXDOO\

       DFFHSWDEOHPRQLWRUZLWKLQFDOHQGDUGD\VDIWHUWKH&RXUWLPSRVHVVHQWHQFHWKH

       ³(IIHFWLYH'DWH´,QWKHHYHQWWKHSDUWLHVDUHXQDEOHWRUHDFKDJUHHPHQWRQDPXWXDOO\

       DFFHSWDEOHPRQLWRUHDFKSDUW\VKDOOVXEPLWQRPRUHWKDQWZRQDPHVWRWKH&RXUWDQGWKH

       &RXUWVKDOOGHWHUPLQHWKHPRQLWRU3*	(VKDOOUHWDLQWKH0RQLWRUDVVRRQDVSRVVLEOH

       EXWQRWODWHUWKDQFDOHQGDUGD\VDIWHUWKHGDWHWKHSDUWLHVDJUHHRQDPXWXDOO\

       DFFHSWDEOHPRQLWRURUWKH&RXUWGHWHUPLQHVWKHPRQLWRU,IWKH0RQLWRUUHVLJQVRULV

       RWKHUZLVHXQDEOHWRIXOILOOKLVRUKHUREOLJDWLRQVDVVHWIRUWKKHUHLQDUHSODFHPHQW0RQLWRU

       VKDOOEHFKRVHQFRQVLVWHQWZLWKWKHSURFHGXUHVVHWIRUWKLQWKLVSDUDJUDSK

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     7KHPRQLWRUVKLSVKDOOH[LVWIRUDSHULRGRIILYH\HDUVIURPWKHGDWHRIWKH0RQLWRU¶V

       UHWHQWLRQXQOHVVWHUPLQDWHGSXUVXDQWWRSDUDJUDSK'D KHUHLQ

     7KH0RQLWRUVKDOOEHDXWKRUL]HGWRHPSOR\SHUVRQQHOZLWKDSSURSULDWHSURIHVVLRQDO

       TXDOLILFDWLRQVZKRDUHUHDVRQDEO\QHFHVVDU\WRDVVLVWLQWKHSURSHUGLVFKDUJHRIWKH

       0RQLWRU¶VGXWLHVDVVSHFLILHGKHUHLQ3*	(PD\RIIHUVXJJHVWLRQVRQTXDOLILHG

       SURIHVVLRQDOSHUVRQQHOWRDVVLVWWKH0RQLWRUDQGWKH0RQLWRUVKDOOLQWHUYLHZDQ\VXFK

       VXJJHVWHGSHUVRQQHOWRDVVHVVWKHLUTXDOLILFDWLRQVDQGDQ\SRWHQWLDOFRQIOLFWVRILQWHUHVW

       3*	(PD\SHUIRUPURXWLQHFRQIOLFWFKHFNVRQLQGLYLGXDOVRUHQWLWLHVWKH0RQLWRU

       SURSRVHVWRHQJDJHDQGZLWKLQWZRZHHNVRIDSURSRVHGHQJDJHPHQW3*	(VKDOODGYLVH

       WKH0RQLWRULIDQ\FRQIOLFWH[LVWV'LVSXWHVUHJDUGLQJFRQIOLFWVVKDOOEHEURXJKWLQWKH
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       ILUVWLQVWDQFHWRWKH86$2IRUUHVROXWLRQ,IDIWHUFRQVLGHUDWLRQDQGGLUHFWLRQIURPWKH

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       UHVROYHGHLWKHUWKH0RQLWRURU3*	(PD\UHTXHVWWKH&RXUW¶VDVVLVWDQFHLQUHVROYLQJWKH

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       SHUVRQVKLUHGE\WKHPRQLWRUVKDOOEHFRPSHQVDWHGLQDFFRUGDQFHZLWKWKHLUKRXUO\UDWHV

       RUDUHDVRQDEOHIHHGHWHUPLQHGE\WKH0RQLWRUEDVHGRQDSSOLFDEOHPDUNHW UDWHV

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       WKHPRQLWRUVKLSVFRSHDQGRUFRVW3*	(PD\UDLVHDQ\FRQFHUQVRULVVXHVUHJDUGLQJWKH

       PRQLWRUVKLSFRVWDQGRUDQQXDOEXGJHWVHLWKHUZLWKWKH0RQLWRURUWKH86$2DQGWKH

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       LVVXHV,IDIWHUFRQVLGHUDWLRQDQGGLUHFWLRQIURPWKH86$2HLWKHUWKH0RQLWRURU3*	(

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     7KH0RQLWRUVKDOOWDNHVXFKUHDVRQDEOHVWHSVDVLQWKH0RQLWRU¶VYLHZPD\EHQHFHVVDU\

       WREHIXOO\LQIRUPHGZLWKUHVSHFWWRWKH0RQLWRU¶VGXWLHV

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       XQGHUWKLV2UGHULQFOXGLQJSURYLGLQJWKH0RQLWRUZLWKDFFHVVWRDOOQRQSULYLOHJHG

       LQIRUPDWLRQGRFXPHQWVUHFRUGVIDFLOLWLHVDQGRUHPSOR\HHVDVUHDVRQDEO\UHTXHVWHGE\

       WKH0RQLWRU
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     7KH0RQLWRUVKDOOPDLQWDLQDVFRQILGHQWLDODOOQRQSXEOLFLQIRUPDWLRQGRFXPHQWVDQG

       UHFRUGVLWUHFHLYHVIURP3*	(VXEMHFWWRWKH0RQLWRU¶VUHSRUWLQJUHTXLUHPHQWVKHUHLQ

       7KH0RQLWRUVKDOOWDNHVWHSVWRHQVXUHWKDWDQ\RIKLVKHUFRQVXOWDQWVRUHPSOR\HHVVKDOO

       DOVRPDLQWDLQWKHFRQILGHQWLDOLW\RIDOOQRQSXEOLFLQIRUPDWLRQ:LWKLQWKLUW\GD\V

       DIWHUWKHHQGRIWKH0RQLWRU¶VWHUPWKH0RQLWRUVKDOOHLWKHUUHWXUQDQ\WKLQJREWDLQHGIURP

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       ZRUNSURGXFW3*	(VKDOOXVHLWVEHVWHIIRUWVWRSURYLGHWKH0RQLWRUZLWKFRPSDUDEOH

       LQIRUPDWLRQZLWKRXWFRPSURPLVLQJWKHDVVHUWHGSULYLOHJHRUSURWHFWLRQ

     7KH0RQLWRUPD\DVNWKH&RXUWWRUHYLHZin cameraDQ\GRFXPHQWVWKH0RQLWRUEHOLHYHV

       DUHQHFHVVDU\IRUKLPRUKHUWRUHYLHZEXWZKLFK3*	(KDVUHIXVHGWRSURYLGHWRWKH

       0RQLWRUEDVHGXSRQDFODLPRISULYLOHJHVXFKDVWKHDWWRUQH\FOLHQWSULYLOHJH7KH&RXUW

       VKDOOWKHQGHWHUPLQHZKHWKHUVXFKGRFXPHQWVDUHSURWHFWHGE\WKHDWWRUQH\FOLHQW

       SULYLOHJHDQGRUZRUNSURGXFWGRFWULQH

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     7KH&RXUWPD\PHHWZLWKWKH0RQLWRUWRGLVFXVVDVSHFWVRIWKHPRQLWRUVKLSDVWKH&RXUW

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       D 7KH0RQLWRUVKDOOFRQGXFWDQLQLWLDOUHYLHZDQGSUHSDUHDQLQLWLDOUHSRUW7KH

           0RQLWRU¶VLQLWLDOUHYLHZVKDOOFRPPHQFHQRODWHUWKDQFDOHQGDUGD\VIURPWKHGDWH

           RIWKHHQJDJHPHQWRIWKH0RQLWRUXQOHVVRWKHUZLVHDJUHHGDPRQJ3*	(WKH

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           VKDOOSUHSDUHDQLQLWLDOZULWWHQZRUNSODQZKLFKVKDOOEHVXEPLWWHGWR3*	(DQGWKH

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          WKHLQLWLDOUHYLHZ3*	(DQGWKH86$2PD\SURYLGHFRPPHQWQRODWHUWKDQ

          FDOHQGDUGD\VDIWHUUHFHLSWRIWKHLQLWLDOZULWWHQZRUNSODQ7KH0RQLWRU¶VZRUNSODQ

          IRUWKHLQLWLDOUHYLHZVKDOOVHWIRUWKVXFKVWHSVDVDUHUHDVRQDEO\QHFHVVDU\WRFRQGXFW

          DQHIIHFWLYHLQLWLDOUHYLHZDQGLQFOXGHDSURSRVHGEXGJHW,QGHYHORSLQJWKHZRUNSODQ

          DQGLQFDUU\LQJRXWWKHUHYLHZWKH0RQLWRULVHQFRXUDJHGWRFRRUGLQDWHZLWK3*	(

          $Q\GLVSXWHVEHWZHHQ3*	(DQGWKH0RQLWRUZLWKUHVSHFWWRWKHZRUNSODQVKDOOEH

          EURXJKWLQWKHILUVWLQVWDQFHWRWKH86$2IRUUHVROXWLRQ,IDIWHUFRQVLGHUDWLRQDQG

          GLUHFWLRQIURPWKH86$2HLWKHUWKH0RQLWRURU3*	(EHOLHYHVWKHLVVXHKDVQRWEHHQ

          VDWLVIDFWRULO\UHVROYHGHLWKHUWKH0RQLWRURU3*	(PD\UHTXHVWWKH&RXUW¶V

          DVVLVWDQFHLQUHVROYLQJWKHLVVXHVXEPLWWHGWRWKH86$2IRUUHYLHZDQGFRQVLGHUDWLRQ

          7KH0RQLWRUVKDOOLVVXHDZULWWHQUHSRUWZLWKLQFDOHQGDUGD\VRIFRPSOHWLQJWKH

          LQLWLDOUHYLHZVHWWLQJIRUWKWKH0RQLWRU¶VDVVHVVPHQWDQGPDNLQJUHFRPPHQGDWLRQV

          FRQVLVWHQWZLWKWKHJRDOVDQGVFRSHRIWKHPRQLWRUVKLSDVVHWIRUWKLQ6HFWLRQ,DERYH

          7KH0RQLWRUVKDOOSURYLGHWKHLQLWLDOZULWWHQUHSRUWWR3*	(WKH3UREDWLRQ

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          FRPSOHWLRQRIWKHLQLWLDOUHSRUWVHWWLQJIRUWKWKH0RQLWRU¶VFRQWLQXHGDVVHVVPHQWDQG

          PDNLQJUHFRPPHQGDWLRQVFRQVLVWHQWZLWKWKHJRDOVDQGVFRSHRIWKHPRQLWRUVKLSDV

          VHWIRUWKLQ6HFWLRQ,DERYH7KH0RQLWRUVKDOOFRQVXOWZLWK3*	(FRQFHUQLQJWKH

          0RQLWRU¶VILQGLQJVDQGUHFRPPHQGDWLRQVRQDQRQJRLQJEDVLV7KH0RQLWRUVKDOO

          SURYLGHWKHVHPLDQQXDOZULWWHQUHSRUWVWR3*	(WKH3UREDWLRQ2IILFHUWKH

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     )LQDO5HSRUWIRU3XEOLF5HOHDVH

       D $WWKHFRQFOXVLRQRIWKHPRQLWRUVKLSWKH0RQLWRUVKDOOSUHSDUHDILQDOZULWWHQUHSRUW

           IRUSXEOLFUHOHDVHVHWWLQJIRUWKWKH0RQLWRU¶VDVVHVVPHQWRIWKHPRQLWRUVKLSDQG

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           VXIILFLHQWO\SURWHFWV3*	(¶VSURSULHWDU\DQGEXVLQHVVFRQILGHQWLDOLQIRUPDWLRQDQG

           GRHVQRWRWKHUZLVHFRPSURPLVH3*	(¶VEXVLQHVVLQWHUHVWVRUFRPSHWLWLYHEXVLQHVV

           LQIRUPDWLRQ7KH0RQLWRUPD\WDNHZKDWHYHUVWHSVWKH0RQLWRUGHHPVDSSURSULDWHWR

           SURWHFWWKHFRQILGHQWLDOLW\RILQGLYLGXDOVLIDQ\PHQWLRQHGLQWKHILQDOZULWWHQUHSRUW

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           WKHUHSRUWPD\EHPDGHSXEOLFWKH&RXUWVKDOOPDNHWKHGHWHUPLQDWLRQUHJDUGLQJWKH

           FRQWHQWRIWKHILQDOYHUVLRQRIWKHSXEOLFO\DYDLODEOHUHSRUW

       E 3*	(VKDOOKDYHWKHRSWLRQWRILOHLWVRZQILQDOSXEOLFZULWWHQUHSRUWVLPXOWDQHRXVO\

           ZLWKWKH0RQLWRU¶VILQDOSXEOLFZULWWHQUHSRUW

     3RWHQWLDO9LRODWLRQRI&ULPLQDO/DZ

       D ,IWKH0RQLWRULGHQWLILHVDSRWHQWLDOYLRODWLRQRIWKHFULPLQDOODZWKH0RQLWRU

           VKDOOSURPSWO\UHSRUWWKHSRWHQWLDOYLRODWLRQWRWKH3UREDWLRQ2IILFHWKH86$2

           DQG3*	(

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           FDOHQGDUGD\VDIWHUUHFHLYLQJWKH0RQLWRU¶VUHSRUWSURYLGHGKRZHYHUWKDW

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          FRQVLGHUVLQFRQVLVWHQWZLWKDSSOLFDEOHODZRUUHJXODWLRQRURWKHUZLVH

          LQDGYLVDEOHDQGRUXQUHDVRQDEOH6KRXOGWKH0RQLWRUDPHQGLWV

          UHFRPPHQGDWLRQDIWHUUHFHLYLQJ3*	(¶VQRWLFHWKH0RQLWRUVKDOOH[WHQGWKH

          WLPHSHULRGIRUEHJLQQLQJWKHSURFHVVRIDGRSWLQJWKHUHFRPPHQGDWLRQ$VWR

          DQ\UHFRPPHQGDWLRQRQZKLFK3*	(DQGWKH0RQLWRUGRQRWDJUHH3*	(

          DQGWKH0RQLWRUVKDOODWWHPSWLQJRRGIDLWKWRUHDFKDQDJUHHPHQWZLWKLQ

          FDOHQGDUGD\VDIWHU3*	(VHUYHVWKHZULWWHQQRWLFH,QWKHHYHQW3*	(DQG

          WKH0RQLWRUDUHXQDEOHWRDJUHHRQDQDFFHSWDEOHDOWHUQDWLYHSURSRVDO3*	(

          VKDOOSURPSWO\FRQVXOWZLWKWKH86$2UHJDUGLQJWKHGLVSXWH7KH86$2ZLOO

          VXEPLWDZULWWHQRSLQLRQWR3*	(DQG0RQLWRUDVWRZKHWKHU3*	(VKRXOG

          DGRSWWKH0RQLWRU¶VUHFRPPHQGDWLRQRUDQDOWHUQDWLYHSURSRVDO,IDIWHUUHFHLYLQJ

          WKHZULWWHQRSLQLRQIURPWKH86$2HLWKHUWKH0RQLWRURU3*	(EHOLHYHVWKHLVVXH

          KDVQRWEHHQVDWLVIDFWRULO\UHVROYHGHLWKHUWKH0RQLWRURU3*	(PD\UHTXHVWWKH

          &RXUW¶VDVVLVWDQFHLQUHVROYLQJWKHLVVXH3HQGLQJVXFKGHWHUPLQDWLRQ3*	(VKDOO

          QRWEHUHTXLUHGWREHJLQDGRSWLRQRIDQ\FRQWHVWHGUHFRPPHQGDWLRQV:LWK

          UHVSHFWWRDQ\UHFRPPHQGDWLRQWKDWWKH0RQLWRUGHWHUPLQHV3*	(FDQQRW

          UHDVRQDEO\EHJLQWRDGRSWZLWKLQFDOHQGDUGD\VDIWHUUHFHLYLQJWKH86$2¶V

          ZULWWHQRSLQLRQRUWKH&RXUW¶VDVVLVWDQFHWKH0RQLWRUVKDOOH[WHQGWKHWLPHSHULRG

          IRUEHJLQQLQJDGRSWLRQRIWKHUHFRPPHQGDWLRQZLWKSULRUZULWWHQDSSURYDORIWKH

          86$2RUWKHFRQFXUUHQFHRIWKH&RXUW

     ([WHQVLRQVRU&DQFHOODWLRQRI&HUWDLQ5HYLHZVDQG5HSRUWV

       D $IWHUFRQVXOWDWLRQZLWK3*	(WKH0RQLWRUPD\H[WHQGWKHWLPHSHULRGIRUDQ\

          UHYLHZRUUHSRUWIRUXSWRFDOHQGDUGD\VZLWKSULRUZULWWHQDSSURYDORI W K H 

          86$2,QWKHHYHQWWKDWDGHDGOLQHLVH[WHQGHG3*	(WKH0RQLWRUDQGWKH
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           86$2PD\DJUHHWRHOLPLQDWHWKH0RQLWRU¶VREOLJDWLRQWRSUHSDUHDVXEVHTXHQW

           VHPLDQQXDOUHYLHZDQGUHSRUW

     (DUO\7HUPLQDWLRQRI0RQLWRUVKLS

       D,IUHDVRQDEO\SURPSWO\DIWHUFRPSOHWLQJWKUHH\HDUVRIWKHPRQLWRUVKLSRUDWDQ\

           WLPHWKHUHDIWHUWKH0RQLWRURU3*	(EHOLHYHWKDW3*	(¶VDSSOLFDEOHSROLFLHV

           DQGSURFHGXUHVDQGLPSOHPHQWDWLRQDQGHQIRUFHPHQWWKHUHRIDUHDSSURSULDWH

           DQGWKDWIXUWKHUPRQLWRULQJDQGUHYLHZLVQRWZDUUDQWHGWKHQWKH0RQLWRURU

           3*	(PD\DSSO\WRWKH86$2IRUSHUPLVVLRQWRIRUHJRWKHUHPDLQLQJUHYLHZV

           DQGUHSRUWV,IWKH86$2DSSURYHVWKHQWKH86$2VKDOOPDNHD

           UHFRPPHQGDWLRQWRWKH3UREDWLRQ2IILFHUDQGWKH&RXUWWRIRUHJRDQ\UHPDLQLQJ

           UHYLHZVDQGUHSRUWVDQGXSRQDSSURYDOE\WKH&RXUWWKHHQJDJHPHQWRIWKH

           PRQLWRUVKLSVKDOOWHUPLQDWH

       E,QQRHYHQWVKDOOWKHWRWDOWHUPRIWKHPRQLWRUVKLSH[FHHGWKHWHUPRI3UREDWLRQ

     ,QXQGHUWDNLQJWKHDVVHVVPHQWVDQGUHYLHZVGHVFULEHGLQ6XEVHFWLRQ,,'RIWKLV2UGHU

       WKH0RQLWRUVKDOOIRUPXODWHFRQFOXVLRQVEDVHGRQDPRQJRWKHUWKLQJVDLQVSHFWLRQRI

       GRFXPHQWVLQFOXGLQJ3*	(¶VFXUUHQWSROLFLHVDQGSURFHGXUHVUHJDUGLQJFRPSOLDQFHZLWK

       WKHUHOHYDQWJDVWUDQVPLVVLRQSLSHOLQHVDIHW\UHJXODWLRQVERQVLWHREVHUYDWLRQVRI

       3*	(¶VSURFHGXUHVDWYDULRXVORFDWLRQVFPHHWLQJVZLWK3*	(HPSOR\HHVDQGRIILFHUV

       DWPXWXDOO\FRQYHQLHQWWLPHVDQGSODFHVGDQDO\VHVVWXGLHVDQGWHVWLQJRI3*	(¶V

       SURJUDPZLWKUHVSHFWWRJDVWUDQVPLVVLRQSLSHOLQHVDIHW\UHJXODWLRQVLQFOXGLQJUHVXOWVRI

       &38&DXGLWVDQGHDWWHQGDQFHDWOHDGHUVKLSJRYHUQDQFHPHHWLQJVLH5LVNDQG

       &RPSOLDQFHPHHWLQJVRWKHUWKDQGXULQJSULYLOHJHGSRUWLRQVRIVXFKPHHWLQJV

       6KRXOGWKH0RQLWRUGLVFRYHUWKDW3*	(RUDQ\3*	(HPSOR\HHKDVQRWFRPSOLHG

       ZLWKWKHJDVWUDQVPLVVLRQSLSHOLQHVDIHW\UHJXODWLRQVWKH0RQLWRUVKDOOSURPSWO\UHSRUW
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       VXFKQRQFRPSOLDQFHVWR3*	(¶V&KLHI(WKLFVDQG&RPSOLDQFH2IILFHUDQG6HQLRU9LFH

       3UHVLGHQW*DV2SHUDWLRQVIRUIXUWKHUDFWLRQ7KH0RQLWRUVKDOODGGUHVVLQKLVRUKHU

       UHSRUWVWKHDSSURSULDWHQHVVRI3*	(¶VUHVSRQVHWRDOOXQFXUHGQRQFRPSOLDQFHVZKHWKHU

       SUHYLRXVO\GLVFORVHGWRWKH86$2RUQRW)XUWKHULQWKHHYHQWWKDW3*	(RUDQ\HQWLW\

       RUSHUVRQZRUNLQJGLUHFWO\ZLWK3*	(UHIXVHVWRSURYLGHLQIRUPDWLRQQHFHVVDU\IRUWKH

       SHUIRUPDQFHRIWKH0RQLWRU¶VUHVSRQVLELOLWLHVDQG3*	(UHIXVHVWRFXUHWKHIDLOXUHWR

       SURYLGHWKHLQIRUPDWLRQWKH0RQLWRUVKDOOGLVFORVHWKDWIDFWDQGVXSSRUWLQJ

       GRFXPHQWDWLRQWRWKH86$2

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    $ 7KLV2UGHUVKDOOEHDSSOLFDEOHWR3*	(GXULQJ3*	(¶VVXSHUYLVLRQE\WKH0RQLWRU

    % ,QWKHHYHQWRIDVDOHRIWKHJDVSLSHOLQHWUDQVPLVVLRQV\VWHPDVVLJQPHQWRUWUDQVIHURIDOO

       RI3*	(¶VVWRFNRUDVVHWVWRDQXQDIILOLDWHGWKLUGSDUW\SXUVXDQWWRDQDUP¶VOHQJWK

       WUDQVDFWLRQWKHWHUPVRIWKLV2UGHUVKDOOFRQWLQXHWRDSSO\WR3*	(DQGWRDQ\VXFFHVVRU

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    & 7KHUHTXLUHPHQWVRIWKLV2UGHUDUHLQDGGLWLRQWRDOORWKHUDSSOLFDEOHUHTXLUHPHQWVRIODZ

       7KLV2UGHUGRHVQRWRSHUDWHDVDSHUPLWXQGHUIHGHUDOVWDWHRUORFDOUHJXODWLRQVDQG

       3*	(UHPDLQVUHVSRQVLEOHIRUFRPSO\LQJZLWKDOODSSOLFDEOHIHGHUDOVWDWHDQGORFDO

       ODZVRUGHUVDQGSHUPLWV3*	(PD\QRWFODLPWKDWFRPSOLDQFHZLWKWKLV2UGHULVD

       GHIHQVHWRDQ\DFWLRQFRPPHQFHGXQGHUDSSOLFDEOHIHGHUDOVWDWHRUORFDOODZ7KH

       JRYHUQPHQWGRHVQRWZDUUDQWWKDW3*	(¶VFRPSOLDQFHZLWKWKLV2UGHUFRQVWLWXWHV

       FRPSOLDQFHZLWKRWKHUDSSOLFDEOHOHJDOUHTXLUHPHQWVLQFOXGLQJEXWQRWOLPLWHGWR&38&

       176%DQG3+06$UHTXLUHPHQWV

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       UHWDLQHGE\WKH0RQLWRUGXULQJWKHPRQLWRUVKLSIRUDSHULRGRIDWOHDVWRQH\HDUIURPWKH

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